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8                                    UNITED STATES DISTRICT COURT
9                                   CENTRAL DISTRICT OF CALIFORNIA
10

11     SOCKEYE LICENSING TX LLC,                  Case No. 8:18-cv-02148-AG-JDE

12                    Plaintiffs,                 STIPULATION OF DISMISSAL
13                                                Complaint served: December. 13, 2013
              v.
14
       VIZIO, INC.,
15

16                    Defendant.

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                                                                            Stipulation of Dismissal
                                                                        Case No. 8:18-cv-02148-JDE
     Case 8:18-cv-02148-AG-JDE Document 10 Filed 01/31/19 Page 2 of 2 Page ID #:177



1            This Stipulation is entered into by and among plaintiff Sockeye Licensing TX LLC and

2     defendant VIZIO, Inc (collectively, “the Parties”, by and through their counsel.

3            WHEREAS, Plaintiff filed a complaint in the District Court, Central District of California, on

4     December 4, 2018, and served the Complaint on VIZIO, Inc. on December 13, 2018;

5            WHEREAS, all Parties have agreed to dismiss the entire action, with prejudice, and agreed that

6     each party shall bear its own costs;

7            NOW THEREFORE, it is hereby stipulated by and between the Parties to this action through

8     their designated counsel that the above-captioned action be and hereby is dismissed with prejudice.

9            IT IS SO STIPULATED.

10    DATED: January 29, 2019
                                                 MASCHOFF BRENNAN, LLP
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12                                               By: /s/ Michael I. Katz
                                                         Michael I. Katz
13                                                Attorneys for Defendant VIZIO, INC.

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      DATED: January 29, 2019
15                                               WATSON LLP
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                                                 By: /s/ Coleman Watson
17                                                        Coleman Watson

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